Case 19-18813-RAM Doc4 Filed 06/29/19 Page1of2

URC CMUEliCamced testi] your case:

Debtor 4 John Oconnor Jr

First Name Middle Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Southern District of Florida

Case number Q) Check if this is an
CF knewn) amended filing

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 12

If you are an individual filing under chapter 7, you must fill out this form if:
—@ creditors have claims secured by your property, or
@ you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

Eee us Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

Identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
oe State Farm Bank () Surrender the property. CU No
- a 5 CJ Retain the property and redeem it. A Yes
oon of 201 oyota Tundra 4 Retain the property and enter into a
securing debt: Reaffirmation Agreement.

Cd Retain the property and [explain]:

 

Creditor's

id Surrender the property. i No

name:

cueseharce Retain the property and redeem it. QO) Yes
S

a - (J Retain the property and enter into a

securing debt: Reaffirmation Agreement.

CI Retain the property and [explain]:

 

Creditor's

 

ae CQ Surrender the property. CO) No
a Retain the property and redeem it. O Yes
a % Q Retain the property and enter into a
securing debt: Reaffirmation Agreement.
CI) Retain the property and [explain]:
Creditor's CJ Surrender the property. CI No
ame ) Retain the property and redeem it. QO Yes

Description of
property
securing debt:

Official Form 108

(J Retain the property and enter into a
Reaffirmation Agreement.

CJ Retain the property and [explain]:

 

Statement of Intention for Individuals Filine [Indar Chantar 7
Debtor 1

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John Oconnor Jr

 

First Name

Middle Name

Last Name

Case number (if known)

Cee ui: Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Will the lease be assumed?

Lessor’s name: O No

Description of leased OC) Yes

property:

Lessor’s name: CONo

Description of leased Q) Yes

property:

Lessor's name: Eling

Description of leased QC) Yes

property:

Lessors name: Giins
Cl) Yes

Description of leased

property:

Lessor’s name: Gling
C) Yes

Description of leased

property:

Lessor's name: Bina

booe: CI Yes

Description of leased

property:

Lessors name: Ewe
QC) Yes

Description of leased

EEE <=

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease,

x

Signature of Debtor 2

 

    

a 06/22/2019

Date
MM/ DD 7 YYYY

MM/ DDS YYYY

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2
